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                           IN THE UNITED STATES DISTRICT COURT
  U S DISTRICT COURT      FOR THE EASTERN DISTRICT OF MISSOURI
EASTE'RN DISTRICT OF MO
    CAPE GIRAROEAU



  BILLY G. BIGGS, PRO SE                           CASE NO.
             PETITIONER,                           1:14CR 20 SNLJ



  VS.



  UNITED STATES OF AMERICA,
                RESPONDENT.


                                (SECOND-IN-TIME * 2255)
                              MOTION TO SUPPORT PETITIONER'S
                                 28 U.S.C. * 2255 MOTION


          COMES NOW, BILLY BIGGS, (PETITIONER AND PRO SE), moving
  this Honorable Court to adjudicate this instant Motion To
  Support Petitioner's 28 U.S.C. * 2255 Motion.


          Petitioner Billy G.Biggs IS NOT an attorney and IS NOT
  trained, skilled, or educated in the law as an attorney; but
  it is the petitioner's good-faith intention to comply with all
  the laws, rules, and statutes that are in effect at this time
  and all times that the instant case is at bar.




                                        (1)
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     Petitioner ask that this Honorable Court view tbis motion
with less stringent standards than that of an attorney. SEE
HAINES VS. KERNER, 404 U.S. 519 (1972).




                          STATEMENT OF THE CASE

     Petitioner Billy G.Biggs was convicted of Count I. of
the indictment, which charged Biggs AIDED and ABETTED BY CO­
DEFENDANTS, COMMITTING THE CRIME OF AIDING and ABETTING THE
BURGLARY OF A PHARMACY, in violation of Title 18 U.S.C. *
2118(b) and (c)(l) and 18 U.S.C. * 2, and COUNT II. AIDED
and ABETTING THE POSSESSION      OF-~-CONTROLLED     SUBSTANCES WITH
THE INTENT TO DISTRIBUTE, in violation of 21 U.S.C.            *   841(a)
(1) and 18 U.S.C. * 2.



                           STATEMENT OF THE ISSUE(S)

(I) WHETHER PETITIONER RILLY G.BIGGS IS ENTITLED TO A REDUCTION
   VIA "MINIMAL OR MINOR ROLE" VIA 3B1.2 OF THE U.S.SENTENCING
    GUIDELINES, BASED ON THE SENTENCING COMMISSION'S RECENT
    AMENDMENT, WHICH IS RETROACTIVE ???




                                    (2)
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JURISDICTION

      This action arises under the U.S. Constitution and the lawB
of the United States. This COllrt has Jurisdiction pursnant to
Article I,    * 9, Clanse 2 of the U.S. Constitution, 28 U.S.C. *
2255, 1331.

THE ANTITERRORISM AND DEATH PENALTY ACT/STATUTE LIMITATIONS


      The Antiterrorism and Effective Death Penalty Act (AEDPA)
provides a one-year limitation period within which federal
prisoners challenging their sentence mllst file          * 2255 motions.
28 U.S.C. * 2255(f). Pursuant to AEDPA, this motion is timely,
as it is filed within one year of November 1,2015, the date the
Sentencing Commission decided UNITED STATES VS. QUINTERO-LEYVA,
which held that recent "minor role" is retroactive, because it is
a clarifying amendment. It is also timely, becallse the date on
which the right asserted was initially recognized by the Sentenc­
ing Commission.

                               LAW AND ARGUMENT

     Under 2255, a prisoner has right to be released upon the
grounds that the sentence was imposed in violation of the
Constitution or the laws of the United States ; or




                                    (3)
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that the court was without Jurisdiction to impose stlch sentence
or that the sentence was in excess of the maximum authorized by
by. While 2255 motions generally may not be used as vehicles to
create or apply new rIlles of constitutional law, new interpret­

ations of substantive law may be applied retroactively in a 2255
motion. SEE BOUSLEY VS. UNITED STATES, 523 U.S. 614,620-21 (1998).
B[(';GS-- is entitled to relief, because (1) The Sentencing Guide­

lines are no longer mandatory. SEE KIMBROUGH VS. UNITED STATES,
169 L.ED. 2d 481---they are "ADVISORY". The Eighth Conrt Of
Appeals states that a district conrt should begin a "sentencing

proceeding" with a correct calculation of the advisory sentencing
guidelines range. SEE UNITED STATES VS. BRAGGS,511 f3d 808

(8th Cir. Jan.7,2008). (2) The advisory sentencing guidelines

range is arrived at after determining the appropriate gnidelines
range and evaillting whether any traditional guidelines departures
are warranted. SEE UNITED STATES VS. WASHINGTON, CASE NO(S).
06-3584 & 06-3954 --- 575 f3d 861 (8th Cir. Jan.28,2008).
The court should consider all the factors listed in 18 U.S.C.              *
3553(a) to determine whether they support the sentence. SEE BRAGGS
511 f3d 808, The district court may not assume that the guideline
range is reasonable, but instead mnst make an individualized

assessment based on the facts presented.




                                       (4)
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 Under 3B1.2 a defendant may qualify for a four (4) level reduc­
 tion under minimal participant or a two (2) level reduction as
 a minor participant/role. Under both prongs, if be is plainly
 among the least culpable of       these~YnvDlved      and lacks knowlegde
 of the scope and strllcture of the eaterprise and activities of

 others. SEE UNITED STATES VS.DENTON, 434 f3d 1104 (8th Cir.2006).
 A defendant may also receive a two (2) level decrease as a minor
 participant, if the defendant is "less culpable than most other

 participants" ---but defendant's role could not be descibed as
 minimal. SEE ALSO DENTON.


       To determine whether a reduction is appropriate,"the sentenc­
 ing conrt compares the acts of each participant in relation to the


 relevant conduct for which· the participant is held accountable and
 measures each participant's individual acts and relative cUlpabi­
 lity against the elements of the          offense~   SEE JOHNSON VS. UNITED
 STATES, 408 f3d 535 (8th Cir.2005).


       The (PETITIONER) in the instant case did not use violence,
 possess a weapon (GUN) or other dangerolls weapon in connection
with the offense, the offense did not reslllt in death, seriOllS
bodily injury to any person.




                                     (5)
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      The (PETITIONER) was'nt an ORGANIZER, LEADER, MANAGER, OR
SUPERVISOR OF OTHERS and was'nt engaged in a continuing criminal
enterprise and the (PETITIONER) was TRUTHFUL concerning the               off~­

ense. SEE THE RECORDS.


      When taking into consideration as a whole the records show
conclusively that petitioner BIGGS            was a "MINIMAL OR MINOR
PARTICIPANT" in the instant offense. Nothing else in the record
can sllbstain other than the fact that petitioner was hired to do
a job, A JOB OF ILLEGALITY, but never the less (A JOB), bllt he
was not calling any shot, giving orders, and he never planned any
of the instant offense.
      In this instant case, which was BURGLARY OF A PHARMACY, the
record is ABSTRACT and does not say what role any of the defendant
(s) played in the instant offense, consequently, petitioner would
submit that it could even fit llnder being ambiguous and therefore,

under the rule of lenity, resolved in the defendant's favor. SEE
UNITED STATES VS. BASS, 30 L.ED.2d 488,92 S.CT.515 (1971).

      Petitioner BIGGS-- ,vollld submit, because he played a "MINIMAL
AND/OR MINOR ROLE" in the instant offense, he is entitled to a
reduction under 3B1.2 and ask that this Honorable Court GRANT

this instant Motion.




                                        (6)
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       In considering a departure from the guidelines sentence,
 a district court must decide whether the sentencing commission
has forbidden, encollraged or discollraged a departure based on
 a certain feature. SEE KOON VS. UNITED STATES,518 U.S. 81 --­

 (135 L.ED. 2d 392) 1996.

      If the special factor is an encouraged factor, the court
is authorized to depart if the applicable guidelines does not
already take it into account. SEE UNITED STATES VS. LIGHTHALL,
389 f3d 791,796 (8th Cir.2004)

      Although discouraged factors or encouraged factors already
taken into account by the guidelines, do not ordinarily furnish
grollnds for departure they can form the basis for a departure,
if the factors is present to an exceptional degree or in some
other way makes the case different from the ordinary case where
the factors is present. LIGHTHALL, 389 f3d at 796.

      Combine with the lack of the record, to show a mitigating
or aggravating facts of the case; the sentencing determination
leaves some doubt as to the role ever defendant played in the
offense, which creates a mitigating factor that takes this case

outside the (HEARTLAND) of cases that the sentencing commission
considered when formulating the guidelines applicable to              BIGGS   IS

OFFENSE.




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       Consequently, the facts presented in connection with             BIGGS'
 S first sentencing differ significantly from back then, because
 the NEW AMENDED 3Bl.2 now states that," A DEFENDANT WHO DOES NOT
HAVE A PROPRIETARY INTEREST IN THE CRIMINAL ACTIVITY AND WHO IS
 SIMPLY BEING PAID TO PERFORM CERTAIN TASKS SHOULD BE CONSIDERED
 FOR A REDUCTION" AND "THE FACT THAT A DEFENDANT PERFORMS AN
 ESSENTIAL OR INDISPENSABLE ROLE IN THE CRIMINAL ACTIVITY IS NOT
DETERMINATIVE" ... The amendment also include a non-exhastive
 list of factors a cOllrt[should] consider in determining whether
to apply a minor role reduction. The factors are:


 (I) THE DEGREE TO WHICH THE DEFENDANT UNDERSTOOD THE SCOPE AND
     STRUCTURE OF THE CRIMINAL ACTIVITY;
(II) THE DEGREE TO WHICH THE DEFENDANT PARTICIPATED IN PLANNING
      OR ORGANIZING THE CRIMINAL ACTIVITY;
(III) THE DEGREE TO WHICH THE DEFENDANT EXERCISED DECISION-MAKING
       AUTHORITY OR INFLUENCED THE EXERCISE OF DECISION-MAKING;
(IV) THE NATURE AND EXTENT OF THE DEFENDANT'S PARTICIPATION IN THE
      COMMISSION OF THE CRIMINAL ACTIVITY, INCLUDING THE ACTS THE
      DEFENDANT HAD IN PERFORMING THOSE ACTS;
(V) THE DEGREE TO WHICH THE DEFENDANT STOOD TO BENEFIT FROM THE
     CRIMINAL ACTIVITY. SEE U.S.S.G. 3Bl.2




                                    (8)
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           Petitioner Billy G.Biggs would further submit that the
     record would consisently support that he was the driver of

      the offense via the two (2) enhancements he received in the
     instant case. Petitioner was paid to perform a task of driving
      (ONLY) and as stated above; he never planned any of the offense,

     was never a shot-caller, gave any orders, etc ... petitioner was
     the lowest participant of this AID           & ABETTED   offense, and there­

     fore should be GRANTED such reduction as classified by 3Bl.2
     NEW AMENDMENT.


                                       CONCLUSION

           Petitioner Billy G.Biggs submit that he has made a prima

     facie showing that he should receive such reduction and ask this
     Honorable Court to GRANT this instant motion in the interest of
     Justice for all that's proper and necessary.



           WHEREFORE,PREMIUM CONSIDERED,Petitioner Billy G.Biggs PRAYS
     that the Honorable Court GRANT this motion via judicial reputation

     so that complete miscarriage of jut ice may not abide on the
     grounds that petitioner was enhanced beyond measure.




                                        (9)
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                 ..                PROOF OF SERVICE       ..

       ..    ,
             I certify that on JULY 28,201n     (date), I mailed a copy of this
                                                           .-
    document and all attachments via first class mail to the following
    parties at the addresses listed below.




                               INCARCERATED LITIGANT


            Pursuant to 28 U.S.C §1746. I declare under the penalty of

   .
  perjury under the laws of the United States that the foregoing is
  true and accurate.




       Dated JULY 28,2016
